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JS44 (Rev. 10/2020 NDGA)

CIVIL COVER SHEET

The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)

I. (a) PLAINTIFF(S)
OSCAR BARNES and GWENDOLYN BARNES

(b) COUNTY OF RESIDENCE OF FIRST LISTED
PLAINTIFF Fulton
(EXCEPT IN U.S, PLAINTIFF CASES)

DEFENDANT(S)
STATE FARM FIRE AND CASUALTY INSURANCE

COUNTY OF RESIDENCE OF FIRST LISTED

DEFENDANT
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND

INVOLVED

(c) ATTORNEYS eine same, appress, TELEPHONE NUMBER, AND

E-MAIL ADDRESS)

J. Remington Huggins and Michael D. Turner
THE HUGGINS LAW FIRM, LLC

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remington@lawhuggins.com
mdturner@lawhuggins.com

(770) 913-6229

ATTORNEYS arkxown

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1420 Peachtree Street, NE, Suite 800

Atlanta, GA 30309
alex.mikhalevsky@swiftcurrie.com

christanher wond@swifteurrie cam (404) 874-8800

Il, BASIS OF JURISDICTION

(PLACE AN “X" IN ONE BOX ONLY)

Os FEDERAL QUESTION
(U.S. GOVERNMENT NOT A PARTY)

C] 1 U.S. GOVERNMENT
PLAINTIFF

LI: US. GOVERNMENT MM), DIVERSITY
DEFENDANT (INDICATE CITIZENSHIP OF PARTIES
IN ITEM III)

Il. CITIZENSHIP OF PRINCIPAL PARTIES

(PLACE AN “X" IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)

PLF

LU;
D1

O
Ll,
LI;

DEF

CITIZEN OF THIS STATE
CITIZEN OF ANOTHER STATE L] 5

CITIZEN OR SUBJECT OF A C1.
FOREIGN COUNTRY

(FOR DIVERSITY CASES ONLY)

PLF

O,

DEF

LU.

INCORPORATED OR PRINCIPAL

PLACE OF BUSINESS IN THIS STATE

Ml.

INCORPORATED AND PRINCIPAL

PLACE OF BUSINESS IN ANOTHER STATE

O.

FOREIGN NATION

IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
CO ORIGINAL

PROCEEDING STATE COURT APPELLATE COURT

MULTIDISTRICT
8 LITIGATION -
DIRECT FILE

): REMOVED FROM C1) REMANDED FROM C1 REINST, ae OR Cs ANOTHER DISTRICT

REOPEN!

TRANSFERRED FROM

(Specify District) TRANSFER JUDGMENT

Ces TRICT = | APPEAL TO DISTRICT JUDGE
6 LITIGAT TION 7 FROM MAGISTRATE JUDGE

V. CAUSE OF ACTION ccrre tne us. civiz SraTuTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE

JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Diversity jurisdiction pursuant to 28 U.S.C. § 1332.

(IF COMPLEX, CHECK REASON BELOW)

Oh.
D2.
Hs.
4.
Ms

Unusually large number of parties.

Unusually large number of claims or defenses.
Factual issues are exceptionally complex
Greater than normal volume of evidence.

Extended discovery period is needed.

O«.
C17.
Us.
Oo.
Lho.

Problems locating or preserving evidence

Pending parallel investigations or actions by government.
Multiple use of experts.

Need for discovery outside United States boundaries.

Existence of highly technical issues and proof.

| FOR OFFICE USE ONLY _
| RECEIPT # AMOUNT §$
JUDGE. MAG: JUDGE

(Referral)

_CONTINUED ON REVERSE

APPLYING IEP
NATURE OF SUIT.

MAG. JUDGE (IFP)
CAUSE OF ACTION

Case 1:23-mi-99999-UNA Document 2835-1 Filed 09/01/23 Page 2 of 2

VI. NATURE OF SUIT etace an «x- tn one Box onty)

CONTRACT - "0" MONTHS DISCOVERY TRACK
[ J 150 RECOVERY OF OVERPAYMENT &
ENFORCEMENT OF JUDGMENT
oO 152 RECOVERY OF DEFAULTED STUDENT
LOANS (Excl. Veterans)
oO 153 RECOVERY OF OVERPAYMENT OF
VETERAN'S BENEFITS

CONTRACT - "4" MONTHS DISCOVERY TRACK
110 INSURANCE
[-] 120 MARINE
L_] 130 MILLER ACT
(0 140 NEGOTIABLE INSTRUMENT
151 MEDICARE ACT
160 STOCKHOLDERS' SUITS
190 OTHER CONTRACT
195 CONTRACT PRODUCT LIABILITY
196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK

210 LAND CONDEMNATION

220 FORECLOSURE

230 RENT LEASE & EJECTMENT
240 TORTS TO LAND

245 TORT PRODUCT LIABILITY
290 ALL OTHER REAL PROPERTY

TORTS - PERSONAL INJURY - "4" MONTHS
DISCOVERY TRACK
310 AIRPLANE
315 ATRPLANE PRODUCT LIABILITY
320 ASSAULT, LIBEL & SLANDER
330 FEDERAL EMPLOYERS’ LIABILITY
340 MARINE
345 MARINE PRODUCT LIABILITY
350 MOTOR VEHICLE
355 MOTOR VEHICLE PRODUCT LIABILITY
360 OTHER PERSONAL INJURY
362 PERSONAL INJURY - MEDICAL
MALPRACTICE
365 PERSONAL INJURY - PRODUCT LIABILITY
A 367 PERSONAL INJURY - HEALTH CARE/
PHARMACEUTICAL PRODUCT LIABILITY
[368 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERY TRACK
370 OTHER FRAUD

371 TRUTH IN LENDING
380 OTHER PERSONAL PROPERTY DAMAGE

385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK

422 APPEAL 28 USC 158
423 WITHDRAWAL 28 USC 157

CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK

440 OTHER CIVIL RIGHTS

441 VOTING

442 EMPLOYMENT

443 HOUSING/ ACCOMMODATIONS

445 AMERICANS with DISABILITIES - Employment
446 AMERICANS with DISABILITIES - Other

448 EDUCATION

IMMIGRATION - "0" MONTHS DISCOVERY TRACK
462 NATURALIZATION APPLICATION
465 OTHER IMMIGRATION ACTIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY
TRACK

463 HABEAS CORPUS- Alien Detainee

510 MOTIONS TO VACATE SENTENCE

530 HABEAS CORPUS

$35 HABEAS CORPUS DEATH PENALTY

540 MANDAMUS & OTHER

550 CIVIL RIGHTS - Filed Pro se

555 PRISON CONDITION(S) - Filed Pro se
(C] 560 CIVIL DETAINEE: CONDITIONS OF

CONFINEMENT

PRISONER PETITIONS - "4" MONTHS DISCOVERY
TRACK
[J 550 CIVIL RIGHTS - Filed by Counsel

[CJ 355 PRISON CONDITION(S) - Filed by Counsel

FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
TRACK
(CJ 625 DRUG RELATED SEIZURE OF PROPERTY
21 USC 881
[J 690 OTHER

LABOR - "4" MONTHS DISCOVERY TRACK
[_] 710 FAIR LABOR STANDARDS ACT
720 LABOR/MGMT. RELATIONS
740 RAILWAY LABOR ACT
751 FAMILY and MEDICAL LEAVE ACT
790 OTHER LABOR LITIGATION
4 791 EMPL. RET. INC. SECURITY ACT

PROPERTY RIGHTS - "4" MONTHS DISCOVERY
TRACK

L] 820 COPYRIGHTS

(0 340 TRADEMARK

oO 880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)

PROPERTY RIGHTS - "8" MONTHS DISCOVERY
TRACK

830 PATENT
(CJ 835 PATENT-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a
Hatch-Waxman cases

SOCIAL SECURITY - "0" MONTHS DISCOVERY
TRACK

861 HIA (1395ff)
862 BLACK LUNG (923)
863 DIWC (405(g))
863 DIWW (405(g))
864 SSID TITLE XVI
865 RSI (405(g))

FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
TRACK

CI 870 TAXES (U.S, Plainuff or Defendant)

($871 IRS- THIRD PARTY 26 USC 7609

OTHER STATUTES - "4" MONTHS DISCOVERY
TRACK

| 375 FALSE CLAIMS ACT
376 Qui Tam 31 USC 3729(a)
400 STATE REAPPORTIONMENT

430 BANKS AND BANKING

450 COMMERCE/ICC RATES/ETC.

460 DEPORTATION

470 RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS

480 CONSUMER CREDIT
485 TELEPHONE CONSUMER PROTECTION ACT
490 CABLE/SATELLITE TY
890 OTHER STATUTORY ACTIONS
891 AGRICULTURAL ACTS
893 ENVIRONMENTAL MATTERS
895 FREEDOM OF INFORMATION ACT 899
[C] 399 ADMINISTRATIVE PROCEDURES ACT /
REVIEW OR APPEAL OF AGENCY DECISION
[21 950 CONSTITUTIONALITY OF STATE STATUTES
OTHER STATUTES - "8" MONTHS DISCOVERY
TRACK
Al 410 ANTITRUST
850 SECURITIES / COMMODITIES / EXCHANGE

OTHER STATUTES - “O" MONTHS DISCOVERY
TRACK

[1 896 ARBITRATION
(Confirm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE
TYPE. SEE LOCAL RULE 26.3

VIL REQUESTED IN COMPLAINT:

CHECK IF CLASS ACTION UNDER F,R.Civ.P, 23

DEMAND § 334,011.52

JURY DEMAND YES O NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

VU. RELATED/REFILED CASE(S) IF ANY

JUDGE

DOCKET NO.

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
C1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

(3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(C4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

BANKRUPTCY JUDGE.

(117. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.
CIs NOT (cheek one box) SUBSTANTIALLY THE SAME CASE,

DISMISSED. This case [1] 18

5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

» WHICH WAS

find rF oF Fcscseal

Q/\ 7 2023

SIGNATURE OF avigitey OF RECORD

DATE
